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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELWARE


  QORVO, INC.

                Plaintiff,                            C.A. No. 21-1417 (JPM)

  v.

  AKOUSTIS TECHNOLOGIES, INC. and                     DEMAND FOR JURY TRIAL
  AKOUSTIS, INC.

                Defendants.


           NOTICE OF TAKING DEPOSITION OF DR. STANLEY SHANFIELD

         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure (“Rule” or

  “Rules”) 30, defendants Akoustis Technologies, Inc. and Akoustis, Inc.’s (collectively “Akoustis”

  or “Defendants”) will take the deposition of Dr. Stanley Shanfield by oral examination using a

  combination of stenographic means, videotape and/or audio tape. The oral examination will begin

  on January 23, 2024, commencing at 9:00 a.m. EST, at the offices of Squire Patton Boggs (US)

  LLP, 2550 M Street NW, Washington, D.C., 20037, until completed. The deposition will be before

  a Notary Public or other person authorized by law to administer oaths.




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  Dated: January 12, 2024

  OF COUNSEL:

  SQUIRE PATTON BOGGS (US) LLP               BAYARD, P.A.

  Ronald S. Lemieux                          /s/ Ronald P. Golden III
  David S. Elkins                            Stephen B. Brauerman (#4952)
  Victoria Q. Smith                          Ronald P. Golden III (#6254)
  1841 Page Mill Road                        600 N. King Street, Suite 400
  Suite 150                                  Wilmington, Delaware
  Palo Alto, California 94304                (302) 655-5000
  (650) 856-6500                             sbauerman@bayardlaw.com
  ronald.lemieux@squirepb.com                rgolden@bayardlaw.com
  david.elkins@squirepb.com
  victoria.smith@squirepb.com                Attorneys for Defendants Akoustis
                                             Technologies, Inc. and Akoustis, Inc.




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